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James Garretson (00:01):
Hello.

Eric Goode (00:03):
Hey, James.

James Garretson (00:04):
Hey. What's up?

Eric Goode (00:05):
I forgot to ask you, are you around tomorrow?

James Garretson (00:08):
Tomorrow, yeah. Some of the day tomorrow. I'm-

Eric Goode (00:12):
What time? If I swung... I want to pick up that thing and I just want to talk to you for a minute.

James Garretson (00:17):
Well, I don't know. What time are you good for? I'm just working my [inaudible 00:00:20] day around it.

Eric Goode (00:21):
I could be there at 10:00, 11:00.

James Garretson (00:26):
Let's do 11:00.

Eric Goode (00:28):
All right. I'll see you there at the store at 11:00.

James Garretson (00:30):
All right. See you then. Bye.

Eric Goode (00:32):
All right, man. Thanks.




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